                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI
                                HATTIESBURG DIVISION

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                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                               Plaintiff, )
SHEANDA BRYANT, et al.,                   )
                                          )
                 Plaintiff-Intervenors,   )                 Civil Action No. H-2216(L)
                                          )
V.                                        )
                                          )
LAWRENCE COUNTY SCHOOL                    )
DISTRICT, et al.,                         )
                                          )
                           Defendants.    )
__________________________________________)

                    NOTICE OF APPEARANCE OF SHAKTI BELWAY
                     ON BEHALF OF PLAINTIFF-INTERVENORS

        I respectfully request that the Court enter the appearance of Shakti Belway as counsel of
record in the above captioned action as I am admitted or otherwise authorized to practice in this
court, and I appear in this case as counsel for Plaintiff-Intervenors Sheanda Bryant, et al.,
(“Private Plaintiffs”).
        Pursuant to Rule 5 of the Federal Rules of Civil Procedure, all further notices and copies
of pleadings, papers, and other materials relevant to this action should be served upon:



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Dated: July 15, 2020



                       FOR PRIVATE PLAINTIFFS SHEANDA
                       BRYANT, et al.,

                       s/ Shakti Belway
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